 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DIST. OF CALIFORNIA

 Case number (if known):                                        Chapter you are filing under:
                                                                      Chapter 7
                                                                      Chapter 11
                                                                      Chapter 12
                                                                                                                             Check if this is an
                                                                      Chapter 13
                                                                                                                             amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                         About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                         Craig                                                  Agnes
     government-issued picture
                                         First Name                                             First Name
     identification (for example,
     your driver's license or            A.                                                     E.
     passport).                          Middle Name                                            Middle Name

                                         Cousins                                                Smith
     Bring your picture                  Last Name                                              Last Name
     identification to your meeting
     with the trustee.                   Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you                 Craig                                                  Aggie
     have used in the last 8             First Name                                             First Name
     years
                                         Middle Name                                            Middle Name
     Include your married or
                                         Smith                                                  Smith
     maiden names.
                                         Last Name                                              Last Name



                                         Craig                                                  Agnes
                                         First Name                                             First Name
                                         Anthony
                                         Middle Name                                            Middle Name
                                         Cousins                                                Corcoran-Smith
                                         Last Name                                              Last Name



                                                                                                Aggie
                                         First Name                                             First Name
                                                                                                Elizabeth
                                         Middle Name                                            Middle Name
                                                                                                Smith
                                         Last Name                                              Last Name




Official Form 101
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Debtor 1     Craig A. Cousins
Debtor 2     Agnes E. Smith                                                                 Case number (if known)

                                    About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):

3.   Only the last 4 digits of
     your Social Security           xxx – xx –           9        6         3        1          xxx – xx –           4        9         1        8
     number or federal              OR                                                          OR
     Individual Taxpayer
     Identification number          9xx – xx –                                                  9xx – xx –
     (ITIN)

4.   Any business names                    I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in         Business name                                               Business name
     the last 8 years
                                    Business name                                               Business name
     Include trade names and
     doing business as names
                                    Business name                                               Business name

                                                –                                                           –
                                    EIN                                                         EIN
                                                –                                                           –
                                    EIN                                                         EIN
5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                    500 Sherman Street
                                    Number      Street                                          Number      Street




                                    Los Altos                      CA       94022
                                    City                           State    ZIP Code            City                           State    ZIP Code

                                    Santa Clara
                                    County                                                      County

                                    If your mailing address is different from                   If Debtor 2's mailing address is different
                                    the one above, fill it in here. Note that the               from yours, fill it in here. Note that the court
                                    court will send any notices to you at this                  will send any notices to you at this mailing
                                    mailing address.                                            address.



                                    Number      Street                                          Number      Street


                                    P.O. Box                                                    P.O. Box


                                    City                           State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing           Check one:                                                  Check one:
     this district to file for
     bankruptcy                            Over the last 180 days before filing this                   Over the last 180 days before filing this
                                           petition, I have lived in this district longer              petition, I have lived in this district longer
                                           than in any other district.                                 than in any other district.

                                           I have another reason. Explain.                             I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)




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Debtor 1     Craig A. Cousins
Debtor 2     Agnes E. Smith                                                          Case number (if known)


 Part 2:      Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you          for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                             Chapter 7

                                       Chapter 11

                                       Chapter 12

                                       Chapter 13

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                  Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an             District                                               When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                  Debtor                                                             Relationship to you

                                  District                                               When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?                         Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                            residence?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it with this bankruptcy petition.




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Debtor 1     Craig A. Cousins
Debtor 2     Agnes E. Smith                                                              Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor               No. Go to Part 4.
    of any full- or part-time               Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                  Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                 Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                     City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                  Check the appropriate box to describe your business:
    to this petition.
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under               If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                  can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business           or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                            No.   I am not filing under Chapter 11.

                                            No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                  the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                  No
    property that poses or is               Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                       If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                Where is the property?
    a building that needs urgent                                             Number   Street
    repairs?



                                                                             City                                     State         ZIP Code




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Debtor 1     Craig A. Cousins
Debtor 2     Agnes E. Smith                                                              Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Craig A. Cousins
Debtor 2     Agnes E. Smith                                                              Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you        16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                    as "incurred by an individual primarily for a personal, family, or household purpose."
                                                   No. Go to line 16b.
                                                   Yes. Go to line 17.

                                     16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.

                                     16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                              No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                            No
    are paid that funds will be
                                                       Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                   1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                   50-99                            5,001-10,000                       50,001-100,000
    owe?                                    100-199                          10,001-25,000                      More than 100,000
                                            200-999

19. How much do you                         $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                 $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                               $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                         $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to            $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                     $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Craig A. Cousins
Debtor 2     Agnes E. Smith                                                            Case number (if known)


 Part 7:      Sign Below
For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                  and correct.

                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                  or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                  proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                  fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                  connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                  or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                  X /s/ Craig A. Cousins                                      X /s/ Agnes E. Smith
                                     Craig A. Cousins, Debtor 1                                  Agnes E. Smith, Debtor 2

                                     Executed on 11/20/2017                                      Executed on 11/20/2017
                                                 MM / DD / YYYY                                              MM / DD / YYYY




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Debtor 1     &UDLJ$&RXVLQV
Debtor 2     $JQHV(6PLWK                                                            Case number (if known)

)RU\RXUDWWRUQH\LI\RXDUH     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
UHSUHVHQWHGE\RQH                 eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                   relief available under each chapter for which the person is eligible. I also certify that I have delivered to
,I\RXDUHQRWUHSUHVHQWHGE\     the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
DQDWWRUQH\\RXGRQRWQHHG      certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
WRILOHWKLVSDJH                 is incorrect.



                                   ; V&DWKOHHQ&RRSHU0RUDQ                                           Date 
                                      Signature of Attorney for Debtor                                        MM / DD / YYYY


                                      &DWKOHHQ&RRSHU0RUDQ
                                      Printed name
                                      0RUDQ/DZ*URXS
                                      Firm Name
                                      16KRUHOLQH%OYG6XLWH
                                      Number          Street
                                      5HQpH&0HQGR]D

                                      &DWKOHHQ&RRSHU0RUDQ

                                      0RXQWDLQ9LHZ                                              &$              
                                      City                                                       State           ZIP Code


                                      Contact phone                      Email address

                                       83758                                                       CA
                                      Bar number                                                 State




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